Case 18-58406-sms   Doc 179    Filed 01/30/19 Entered 01/30/19 18:54:58   Desc Main
                              Document      Page 1 of 7
Case 18-58406-sms   Doc 179    Filed 01/30/19 Entered 01/30/19 18:54:58   Desc Main
                              Document      Page 2 of 7
Case 18-58406-sms   Doc 179    Filed 01/30/19 Entered 01/30/19 18:54:58   Desc Main
                              Document      Page 3 of 7
Case 18-58406-sms   Doc 179    Filed 01/30/19 Entered 01/30/19 18:54:58   Desc Main
                              Document      Page 4 of 7
Case 18-58406-sms   Doc 179    Filed 01/30/19 Entered 01/30/19 18:54:58   Desc Main
                              Document      Page 5 of 7
Case 18-58406-sms   Doc 179    Filed 01/30/19 Entered 01/30/19 18:54:58   Desc Main
                              Document      Page 6 of 7
Case 18-58406-sms   Doc 179    Filed 01/30/19 Entered 01/30/19 18:54:58   Desc Main
                              Document      Page 7 of 7
